Case 2:23-cv-00059-JRG-RSP   Document 215-1   Filed 10/04/24   Page 1 of 3 PageID
                                  #: 11767




                      EXHIBIT A
Case 2:23-cv-00059-JRG-RSP             Document 215-1          Filed 10/04/24      Page 2 of 3 PageID
                                            #: 11768



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  TOUCHSTREAM TECHNOLOGIES, INC.,

                  Plaintiff,

         v.
                                                         Lead Case No. 2:23-cv-00059-JRG
  COMCAST CABLE COMMUNICATIONS,                          Member Case No. 2:23-cv-00062-JRG
  LLC, D/B/A XFINITY, ET AL.,
                                                                 JURY TRIAL

                  Defendants.



                                 PLAINTIFF’S INITIAL WITNESS LIST

         Pursuant to Federal Rules of Civil Procedure 26(a)(3) and the Court’s Third Amended

 Docket Control Order (Dkt. 205), Plaintiff, Touchstream Technologies, Inc. et al. (“Touchstream”)

 hereby submits the following initial list of witnesses it expects to testify at trials and those they

 may call at trial if the need arises (either in person, through deposition designations, or through

 videotaped deposition).

         Touchstream reserves the right to object to any of the witnesses called by Defendants

 Comcast Cable Communications, LLC, Comcast Cable Communications Management, LLC,

 Comcast of Houston, LLC, and Comcast Corporation (collectively, “Comcast”) and reserves the

 right to call additional witnesses for purposes of impeachment or rebuttal. Touchstream further

 reserves the right to call any witness Comcast identifies in its witness list or calls during trial.

  Name                  Affiliation            Will/May      Live/Deposition Objections
                                               Call
  Herb Mitschele        Touchstream            Will          Live
  David Strober         Touchstream            Will          Live
  Kevin Almeroth        Expert retained by     Will          Live
                        Touchstream



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Case 2:23-cv-00059-JRG-RSP        Document 215-1     Filed 10/04/24    Page 3 of 3 PageID
                                       #: 11769



  Name              Affiliation          Will/May   Live/Deposition Objections
                                         Call
  Russ Mangum       Expert retained by   Will       Live
                    Touchstream
  Jamie Cohen       Touchstream          Will       Live or by        FRCP 32, FRE 802 (to
                                                    deposition        the extent
                                                                      Touchstream seeks to
                                                                      call Mr. Cohen by
                                                                      deposition).
  Ramon Villaceran Comcast               Will       Live or by
                                                    deposition
  Evan Cohen        Comcast              Will       Live or by
                                                    deposition
  Todd Ricker       Comcast              Will       Live or by
                                                    deposition
  Ernest Pighini    Comcast              Will       Live or by
                                                    deposition
  Jeffrey Pinard    Third Party          Will       Deposition
  Tony Werner       Comcast              Will       Deposition
  Michael Rinzler   Touchstream          May        Live or by        FRCP 32, FRE 802 (to
                                                    deposition        the extent
                                                                      Touchstream seeks to
                                                                      call Mr. Rinzler by
                                                                      deposition).
  Gil Beyda         Third Party          May        Deposition
  Seth Kramer       Comcast              May        Deposition
  Scott Manning     Comcast              May        Deposition
  Linda Yaccarino   Third Party          May        Deposition
  Sharon Cilione-   Comcast              May        Deposition
  Berger




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